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                          IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF SOUTH CAROLINA


FELIX CHEESEBORO,                )
           #237564,              )
                                 )          CIVIL ACTION NO. 0:07-4090-PMD-PJG
                  Petitioner,    )
                                 )
v.                               )
                                 )           REPORT AND RECOMMENDATION
LEROY CARTLEDGE, Acting          )
Warden of McCormick Correctional )
Institution,                     )
                                 )
                  Respondent. )
______________________________)

                 This is a pro se Petition for a writ of habeas corpus filed pursuant to 28 U.S.C. § 2254

on December 17, 2007.1 The Respondent filed a return and motion for summary judgment on June

2, 2008. As the Petitioner is proceeding pro se, a Roseboro order was entered by the Court on June

3, 2008, advising Petitioner of the importance of a motion for summary judgment and of the necessity

for him to file an adequate response. Petitioner was specifically advised that if he failed to respond

adequately, the Respondent’s motion may be granted, thereby ending his case. After receiving

extensions of time to respond, Petitioner filed a memorandum in opposition on September 2, 2008.

This matter is now before the Court for disposition.2

                                          Procedural History

                 Petitioner was indicted in January 1997 for two charges of murder [Indictment Nos.


       1
           Filing date under Houston v. Lack, 487 U.S. 266 (1988).
       2
         This case has been reviewed by the undersigned United States Magistrate Judge pursuant
to the provisions of 28 U.S.C. § 636(b)(1)(A) and (B) and Local Rule 73.02(B)(2)(c)and (e), D.S.C.
The Respondent has filed a motion for summary judgment. As this is a dispositive motion, this
Report and Recommendation is entered for review by the Court.
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97-GS-40-17742 & 97-GS-40-17743], three charges of armed robbery [Indictment Nos. 97-GS-40-

17744, 97-GS-40-17745, & 97-GS-40-17746], three charges of kidnapping [Indictment Nos. 97-GS-

40-17747, 97-GS-40-17748, & 97-GS-40-17749], and one charge of assault and battery with intent

to kill (“ABIK”) [Indictment No. 97-GS-40-17750]. (Volume 7, pp. 3460-3497). The State also gave

Notice of Intent to Seek the Death Penalty.

               Petitioner was represented on these charges by Chief Public Defender Jeffery P.

Bloom, Assistant Public Defender L. Ross Hall, William N. Nettles, Esquire, and Tony L. Axam,

Esquire. After a trial by jury on April 27, 1998-May 14, 1998, Petitioner was found guilty on all nine

charges. (Volume 6, pp. 2645-26463). Petitioner exercised his right to the 24-hour cooling-off-period

in S.C. Code § 16-3-20(B), and the sentencing phase of his trial did not begin until the following day.

(Volume 6, pp. 2647-2648). On May 17, 1998, the jury returned without being able to render an

unanimous verdict as to sentence; however, it did find the existence of a number of statutory

aggravating factors. Accordingly, the trial judge sentenced Petitioner to a term of twenty (20) years

for ABIK (Volume 7, p. 34934), a term of thirty (30) years, consecutive, on each of the three armed

robbery indictments (Volume 7, pp. 3470, 3474, 3478), a term of thirty year (30) years, consecutive,

for the kidnaping of surviving victim Kendrick Davis (Volume 7, p. 3486), and a term of life

imprisonment without parole, consecutive, on each of the two murders (Volume 7, p. 3462, 3466).

Pursuant to § 16-3-910, S.C. Code of Laws, the trial judge did not sentence Petitioner for the

kidnappings of murdered victims Leon Poole and Frank Kelly (Volume 7, pp. 3482, 3490).

       3
         Volume 6, p. 2644-2645, appears to skip and not include numbered pages 5465-5471 of the
original transcript.
       4
        The pages listed after page 3459 in Volume 7 do not have page numbers at the top.
Therefore, it is necessary to manually count to arrive at the correct page numbers cited after page
3459.

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                 A timely appeal was filed on behalf of the Petitioner, raising the following direct

appeal issues:

       1.        The lower court erred in denying appellant’s motion to dismiss the state’s indictments,
                 or in the alternate, to suppress evidence and testimony pertaining to the alleged murder
                 weapon because the premature destruction of the weapon hindered appellant’s defense,
                 which in turn rendered the trial against him fundamentally unfair.

       2.        The lower court erred in allowing into evidence the in-court and out-of -court
                 identifications made by Kendrck Davis and his identification testimony thereof
                 because said evidence was tainted and unreliable due to an unduly suggestive and
                 invalid hypnosis procedure.

       3.        The lower court erred in allowing prejudicial Lyle testimony regarding a cabdriver
                 murder into evidence at trial.

       4.        The lower court erred in denying the defense an opportunity to examine Kendrick
                 Davis about his use of a specific racial slur in order to fully attack his credibility as
                 a witness and the credibility of his identification of appellant as the perpetrator in the
                 case.

       5.        The lower court erred in denying the defense an opportunity to impeach Kendrick
                 Davis with his entire prior criminal record.

       6.        The lower court erred in denying the defense’s motion for a mistrial after Sergeant
                 Mitch Wilkerson commented twice on appellant’s post-arrest silence.

       7.        The lower court erred in not requiring the state to identify the confidential informant
                 who led police to state’s witness Bernard Johnson and to release tapes of Johnson’s
                 drug transactions, all of which constituted critical impeachment evidence in the case.

       8.        The lower court erred in denying the defense impeachment information connected to
                 Bernard Johnson, particularly in light of the fact that he received an eight year
                 sentence after pleading guiltly to all his drug charges subsequent to appellant’s trial.

       9.        The lower court erred in allowing letters appellant allegedly wrote to inmate Virgil
                 Howard into evidence at trial because the letters were irrelevant and prejudicial.

       10.       The lower court erred in not allowing the defense to put forth evidence regarding its
                 response to the S-A-F-E letter written by appellant.

       11.       The lower court erred in allowing into evidence testimony establishing that appellant
                 was in possession of a .45 Caliber pistol subsequent to the barbershop incident and

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               prior to his Greenville arrest.

       12.     The lower court erred in failing to grant appellant’s motion for a mistrial after the
               admission of Lyle testimony into evidence suggesting that appellant stole the .45
               caliber pistol in question

       13.     The lower court erred in allowing the Ruckus letter into evidence at trial.

       14.     The lower court erred in denying the state an opportunity to submit evidence in direct
               opposition to the Ruckus letter.

       15.     The lower court erred in denying the defense an opportunity to cross-examine
               Sergeant Wilkerson regarding other suspects who confessed ot the Kelly killings.

       16.     The lower court erred in denying appellant’s request circumstantial evidence charge.

       17.     The lower court erred in denying appellant’s request for Manning reasonable doubt
               charge.

(Volume 6, pp. 2913-2914)

               Petitioner was represented on appeal by Wanda H. Haile of the South Carolina Office

of Appellate Defense. Following oral argument on June 20, 2001, the South Carolina Supreme Court

issued a written order affirming Petitioner’s convictions and sentences on August 27, 2001. See State

v. Cheeseboro, 552 S.E.2d 300 (2001). (Volume 7, pp. 3179-3202). Petitioner, through counsel, filed

a Petition for Rehearing on September 11, 2001; (Volume 7, pp. 3203-3211); which was denied by

the South Carolina Supreme Court on September 27, 2001. (Volume 7, p. 3212). The Remittitur was

sent down on December 21, 2001. See Remittitur dated December 21, 2001. (Volume 7, p. 3272).

               Petitioner’s counsel then filed a Petition for Writ of Certiorari with the United States

Supreme Court, in which he raised the following issues:

       1) Did the South Carolina Supreme Court err in holding that the gun-related testimony
       and evidence constituted admissible evidence when said weapon was destroyed before
       petitioner could conduct independent tests on the weapon, and when police negligence
       in the handling [of] the weapon rose to the level of bad faith?


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       2) Did the South Carolina Supreme Court err in holding that the eyewitness’ hypnosis
       identification and the identification testimony and evidence that emanated as a result
       constituted admissible evidence?

       3) Did the South Carolina Supreme Court err in holding that the trial judge’s limitation
       of petitioner’s cross-examination of the eyewitness regarding his use of a specific
       racial slur did not violate the sixth amendment?

(Volume 7, p. 3214).

The United States Supreme Court denied the Petition on March 18, 2002. (Volume 8, Exhibit 5).

               Petitioner then filed an Application for Post-Conviction Relief (“APCR”) in state

circuit court on June 29, 2002; Cheeseboro v. State of South Carolina, 02-CP-40-3652 (Volume 7,

pp. 3273-3299); in which he raised the following issues:

               1) Lack of Subject Matter Jurisdiction;

               2) Ineffective Assistance of Counsel;

               3) Ineffective Assistance of Appellate Counsel;

               4) Violation of Procedural Due Process.

(Volume 7, pp. 3277-3279).

An evidentiary hearing was held on October 24, 2005, at which Petitioner was present and represented

by Charlie J. Johnson, Jr., Esquire. (Volume 7, pp. 3306-3452). On January 12, 2006, the PCR judge

entered a written order denying the petition in its entirety. (Volume 7, pp. 3453-3459).

               Petitioner filed a petition for writ of certiorari in the South Carolina Supreme Court,

and was represented by Wanda H. Carter of the South Carolina Office Of Appellate Defense.

Petitioner’s counsel filed a Johnson5 brief requesting to be relieved as counsel and raising the



       5
        Johnson v. State, 364 S.E.2d 201 (S.C. 1998); see also Anders v. California,386 U.S. 738,
744 (1967).

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following issue:

       Trial counsel erred in advising Petitioner not to testify during the guilt phase of his
       trial.

(Volume 8, Exhibit 7, pp. 2, 7).

Petitioner also filed a pro se brief. On December 5, 2007, the South Carolina Supreme Court denied

the petition. (Volume 8, Exhibit 9). The Remittitur was issued on December 21, 2007. (Volume 8,

Exhibit 10).

               In his Petition for writ of habeas corpus filed in the United States District Court,

Petitioner raises the following claims:

       Ground One: Trial Counsel was ineffective for not presenting evidence of the August
       23, 1996 police search of Apartment 4 on House Street, to prove that Petitioner never
       had possession of the alleged murder weapon in his capital case.

       Ground Two: Trial Counselor was ineffective for not filing any additional motion to
       the Courts, to examine the alleged murder weapon.

       Ground Three: Trial Counselor was ineffective for advising Petitioner not to testify
       during the guilt phase of his trial, and for not presenting the jury with an alternative
       interpretation of the State’s evidence that would give the jury reason to doubt the
       State’s case.

       Ground Four: Trial Counselor was ineffective by not investigating the cab drivers
       murder, “with the intent” to put up a meaningful adversarial challenge and alternative
       interpretation against the State’s evidence and theory.

       Ground Five: Solicitor committed prosecutors misconduct by not only telling the
       Court that their witness never received any promises of a deal, but also telling their
       witnesses to say the same thing on the stand.

See Petition; see also Amended Petition.



                                             Discussion

               Summary judgment "shall be rendered forthwith if the pleadings, depositions, answers

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to interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter

of law." Rule 56(c), Fed.R.Civ.P; see Habeas Corpus Rules 5-7, 11. Further, while the federal court

is charged with liberally construing pleadings filed by a pro se litigant to allow the development of

a potentially meritorious case; See Cruz v. Beto, 405 U.S. 319 (1972), and Haines v. Kerner, 404

U.S. 519 (1972); the requirement of liberal construction does not mean that the court can ignore a

clear failure in the pleadings to allege facts which set forth a federal claim, nor can the court assume

the existence of a genuine issue of material fact where none exists. Weller v. Dep't of Social Services,

901 F.2d 387 (4th Cir. 1990).

                                                   I.

               With respect to his ineffective assistance of counsel claims, Petitioner alleges his trial

counsel was ineffective for: 1) not presenting evidence of the August 23, 1996 search of Apartment

#4 on 1028 House Street to prove that Petitioner never had the alleged murder weapon in his

possession; 2) not filing any additional motions to examine the alleged murder weapon; 3) advising

Petitioner not to testify during the guilt phase of his trial, and not presenting the jury with an

alternative interpretation of the State’s evidence that would give the jury reason to doubt the State’s

case; and 4) not investigating the cab driver murder “with the intent” to put up a meaningful

adversarial challenge and alternative interpretation against the State’s evidence and theory.

Respondent does not contest that these issues all appear to have been raised in Petitioner’s APCR6,

where Petitioner had the burden of proving the allegations in his petition. Butler v. State, 334 S.E.2d



       6
       With respect to Ground One, however, Respondent contends that, to the extent this claim
may have been raised in the APCR, Petitioner abandoned it at the PCR hearing.

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813, 814 (S.C. 1985), cert. denied, 474 U.S. 1094 (1986).

               The PCR court rejected these claims, making relevant findings of fact and conclusions

of law in accordance with S.C.Code Ann. § 17-27-80 (1976), as amended. See Cheeseboro v. State

of South Carolina, No. 02-CP-40-3652. Specifically, the PCR judge found that: 1) Petitioner testified

that trial counsel failed or refused to provide him with all the discovery in his case; 2) Petitioner

testified that he wanted the opportunity to explain to the jury about why he wrote the letters that the

prosecution said implicated the Petitioner and explain his prior record; 3) Petitioner testified that he

told his attorneys that the letter that allegedly referred to a robbery involving a safe was actually

another robbery he had committed, it was not the robbery that resulted in these charges he was on trial

for and he wanted to explain that to the jury; 4) Petitioner further testified that his counsel told him

that would be a bad idea; 5) trial counsel Bloom testified that he filed a Rule 5/ Brady Motion in

Petitioner’s case; 6) Bloom testified that discovery in this case was so voluminous that it was stored

in approximately a dozen large banker’s boxes; 7) Bloom testified that this was a case in which the

death penalty was being sought, and Nettles and Ross were appointed as co-counsel; 8) Bloom

testified that Petitioner later retained Axam to join the defense team; 9) Bloom testified that he had

many discussions with the Petitioner about his case; 10) Bloom testified that they went over discovery

material, and that they discussed the pros and cons of his right to testify on his own behalf; 11) Bloom

testified that he discussed with the Petitioner what he and co-counsel perceived as the strong

disadvantages to the Petitioner taking the stand in this case, but that the ultimate decision as to

whether the Petitioner would testify or not was the Petitioner’s; 12) Bloom testified that Petitioner in

this case appeared to easily understand their discussions, that he never hesitated to make his opinions

and ideas known, and was very pro-active in his involvement in his defense; 13) Bloom further


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testified that this case had some unique circumstances, specifically that the alleged weapon used in

this case was purportedly found at the house of another individual, which prevented Petitioner’s

attorneys from lodging a valid challenge to the search warrant due to the Petitioner’s lack of standing

to make such a challenge; 14) Bloom testified it was later discovered by the defense team that the

actual firearm that had been seized by police, and the prosecution was alleging that petitioner used

in the perpetration of the crimes, was accidentally destroyed by the police prior to trial; 15) Bloom

testified that they had a general discovery motion that requested all discovery materials in this case

possessed by the State, which would have included the gun; 16) Bloom testified that there was no

need for any additional motions for discovery specifically requesting the gun because there was no

way for them to know that the police were going to accidentally destroy it; 17) Bloom testified that

the defense retained several experts, including a crime scene expert, Girndt, who was present for all

of the testimony at trial, including that of their other experts such as the gun expert, but decided not

to put him on the stand since they had gotten everything they needed from the other witnesses; 18)

Bloom further testified that, concerning the testimony of Bernard Johnson and Kendrick Davis, the

defense team was in possession of all written statements made prior to trial by any witnesses; 19)

Bloom testified that neither Johnson’s or Davis’ testimony was hearsay or anything that would give

rise to a valid evidentiary objection; 20) Bloom testified that the defense was able to impeach these

witnesses on cross-examination as much as possible; 21) Nettles testified that he gave the opening and

closing arguments and that he focused on the forensic evidence; 22) Nettles opined that one of the

strongest points presented by the defense in Petitioner’s favor was the portrayal of law enforcement’s

sloppy work on the investigation, the clearest evidence of this being the accidental destruction of the

gun alleged to have been involved in these crimes; 23) Nettles testified that he believed that the


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destruction of the gun was probably one of the best things to happen in Petitioner’s case; 24) Nettles

testified that he still believes the advice to the Petitioner not to take the stand was good advice and

that had Petitioner taken the stand, he may have received the death penalty instead of a life sentence;

25) Nettles further testified that, overall, he believed the defense, especially Bloom, made a

superhuman effort and that effort was probably why Petitioner did not receive the death penalty; 26)

trial counsel articulated that they exhaustively prepared for this case; 27) trial counsel investigated

the case, interviewed potential witnesses, and hired experts; 28) Petitioner failed to show any

prejudice arising from the alleged failures of counsel; 29) Petitioner did not show that counsel was

deficient in their choice of tactics; 30) defense counsel was not ineffective for making valid trial

strategy decisions; 31) Petitioner did not carry his burden to show a reasonable probability that the

result at trial would have been different had trial counsel done what Petitioner alleges they should or

should not have done; and 32) the allegation of ineffective assistance of counsel was without merit.

(Volume 7, pp. 3454-3458).

               Substantial deference is to be given to the state court’s findings of fact. Evans v.

Smith, 220 F.3d 306, 311-312 (4th Cir. 2000), cert. denied, 532 U.S. 925 (2001) [”We . . . accord state

court factual findings a presumption of correctness that can be rebutted only by clear and convincing

evidence], cert. denied, 532 U.S. 925 (2001); Bell v. Jarvis, 236 F.3d 149 (4th Cir. 2000)(en banc),

cert. denied, 112 S.Ct. 74 (2001).

       In a proceeding instituted by an application for a writ of habeas corpus by a person in
       custody pursuant to the judgment of a State court, a determination of a factual issue
       made by a State court shall be presumed correct. The applicant shall have the burden
       of rebutting the presumption of correctness by clear and convincing evidence.

28 U.S.C. § 2254(e)(1). See also Fisher v. Lee, 215 F.3d 438, 446 (4th Cir. 2000), cert. denied, 531

U.S. 1095 (2001); Frye v. Lee, 235 F.3d 897, 900 (4th Cir. 2000), cert. denied, 533 U.S. 960 (2001).

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               However, although the state court findings as to historical facts are presumed correct

under 28 U.S.C. § 2254(e)(1), where the ultimate issue is a mixed question of law and fact, as is the

issue of ineffective assistance of counsel, a federal court must reach an independent conclusion.

Strickland v. Washington, 466 U.S. 668, 698 (1984); Pruett v. Thompson, 996 F.2d. 1560, 1568 (4th

Cir. 1993), cert. denied, 114 S.Ct. 487 (1993) (citing Clozza v. Murray, 913 F.2d. 1092, 1100 (4th Cir.

1990), cert. denied, 499 U.S. 913 (1991)). Nevertheless, since Petitioner’s ineffective assistance of

counsel claims were adjudicated on the merits by the South Carolina state court, this Court’s review

is limited by the deferential standard of review set forth in 28 U.S.C. §2254(d), as interpreted by the

Supreme Court in Williams v. Taylor, 120 S.Ct. 1495 (2000). See Bell v. Jarvis, supra; see also

Evans, 220 F.3d at 312 [Under § 2254(d)(1) and (2), federal habeas relief will be granted with respect

to a claim adjudicated on the merits in state court proceedings only where such adjudication “resulted

in a decision that was contrary to, or involved an unreasonable application of, clearly established

federal law, as determined by the Supreme Court of the United States”, or “resulted in a decision that

was based on an unreasonable determination of the facts in light of the evidence presented in the State

court proceeding”]. Therefore, this Court must be mindful of this deferential standard of review in

considering Petitioner’s ineffective assistance of counsel claims.

               Where allegations of ineffective assistance of counsel are made, the question becomes

"whether counsel's conduct so undermined the proper functioning of the adversarial process that the

trial cannot be relied on as having produced a just result." Strickland, 466 U.S. at 694. In Strickland,

the Supreme Court articulated a two prong test to use in determining whether counsel was

constitutionally ineffective. First, the Petitioner must show that counsel's performance was deficient.

This requires showing that counsel made errors so serious that counsel's performance was below the


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objective standard of reasonableness guaranteed by the Sixth Amendment. Second, the Petitioner

must show that counsel's deficient performance prejudiced the defense such that the Petitioner was

deprived of a fair trial. In order to show prejudice a Defendant must show that there is a reasonable

probability that, but for counsel's errors, the result of the proceeding would have been different.

Mazzell v. Evatt, 88 F.3d 263, 269 (4th Cir. 1996). For the reasons set forth below, the undersigned

finds that Petitioner has failed to meet his burden of showing that trial counsel was ineffective under

this standard. Smith v. North Carolina, 528 F.2d 807, 809 (4th Cir. 1975) [Petitioner bears the burden

of proving his allegations when seeking a writ of habeas corpus].

               Ground One. Petitioner alleges his trial counsel was ineffective for not presenting

evidence of the August 23, 1996 search of Apartment #4 on 1028 House Street to prove that Petitioner

never had the alleged murder weapon in his possession. Although Respondent does not contest that

this claim was listed in the PCR petition, Respondent contends that it was not properly pursued and

exhausted at the hearing. Petitioner disputes this contention, and argues that he did pursue this claim

at his PCR hearing; however, the record is clear that the PCR judge did not address this issue in his

order. See (Volume 7, pp. 3453-3459).

               Petitioner argues in his Petition that State’s witness Bernard Johnson testified that

Petitioner gave him the gun in May or June 1996, and that Johnson then gave the weapon to Lamont

Hilliard, who kept it under his mattress at 1028 House Street, where it was found by the police

following a search in October 1996. Petitioner asserts that the house was also searched by the police

in August 1996 and no gun was found, and that since Petitioner was in jail from June 1996 (on

unrelated charges) until his arrest on the charges in this case, the gun he gave to Johnson was a

different gun and counsel should have presented this argument. However, the issue addressed by the


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PCR judge concerning the search of 1028 House Street involved whether or not Petitioner could

challenge the search of 1028 House Street when the gun was found in October 1996. (R.p. 3454,

Issue 1). It did not relate to or discuss the earlier search of the property.

                Bloom testified at the PCR hearing that the gun was found as a result of an arrest at

that residence of another individual, and that he explained to the Petitioner that he had no Fourth

Amendment standing to contest the seizure of the gun from a residence where he did not live.

(Volume 7, pp. 3354-3355). The PCR judge discussed Petitioner’s testimony that his counsel was

ineffective for failing to properly investigate the circumstances surrounding the search warrant that

led to the discovery of the firearm alleged to have been used by the Petitioner, and then discussed

Bloom’s testimony regarding the search warrant and Petitioner not having standing to challenge the

search warrant. (Volume 7, pp. 3454, 3456). The PCR judge did not discuss the issue Petitioner now

presents in Ground One of his Petition. Further, after obtaining the PCR Court’s order, the Petitioner

did not file any motions seeking to obtain a ruling on this or any other issue, even though such a

motion was necessary to preserve this claim, since a “party must timely file a Rule 59(e), SCRCP,

motion to preserve for review any issues not ruled upon by the court in its order.” Al-Shabazz v.

State, 527 S.E.2d 742, 747 (S.C. 2000)(citing Pruitt v. State, 423 S.E.2d 127, 128 n. 2 (S.C.

1992)[issue must be raised and ruled on by the PCR judge in order to be preserved for review]; Marlar

v. State, 653 S.E.2d 266, 267 (S.C. 2007)[“Because respondent did not make a Rule 59(e) motion

asking the PCR judge to make specific findings of fact and conclusions of law on his allegations, the

issues were not preserved for appellate review . . . .”]; Humbert v. State, 548 S.E.2d 862, 865 (S.C.

2001); Plyler v. State, 424 S.E.2d 477, 478-480 (S.C. 1992)[issue must be both raised to and ruled




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upon by PCR judge to be preserved for appellate review]7; see Rule 59(e), SCRCP [providing avenue

for any party to move to alter or amend a judgment if they believe necessary matters not addressed

in original order]; Primus v. Padula, 555 F.Supp.2d 596, 611 (D.S.C. 2008); Smith v. Warden of

Broad River Correctional Inst., No. 07-327, 2008 WL 906697 at * 1 n. 1 (D.S.C. Mar. 31, 2008);

McCullough v. Bazzle, No. 06-1299, 2007 WL 949600 at * 3 (D.S.C. Mar. 27, 2007)(citing Al-

Shabazz, 577 S.E.2d at 747).

                Therefore, since Petitioner did not properly preserve this claim in his PCR proceeding,

it is barred from further state collateral review; Whiteley v. Warden, Wyo. State Penitentiary, 401

U.S. 560, 562 n. 3 (1971); Wicker v. State, 425 S.E.2d 25 (S.C. 1992); Ingram v. State of S.C., No.

97-7557, 1998 WL 726757 at **1 (4th Cir. Oct. 16, 1998); Josey v. Rushton, No. 00-547, 2001 WL

34085199 at * 2 (D.S.C. March 15, 2001); Aice v. State, 409 S.E.2d 392, 393 (S.C. 1991)[post-

conviction relief]; and as there is no current state remedy for Petitioner to pursue this issue, it is fully

exhausted. Coleman v. Thompson, 501 U.S. 722, 735, n.1 (1991); Teague v. Lane, 489 U.S. 288,

297-298 (1989); George v. Angelone, 100 F.3d 353, 363 (4th Cir. 1996) [”A claim that has not been

presented to the highest state court nevertheless may be treated as exhausted if it is clear that the claim

would be procedurally defaulted under state law if the petitioner attempted to raise it at this

juncture.”], cert. denied, 117 S.Ct. 854 (1997); Aice, 409 S.E.2d at 393; Matthews v. Evatt, 105 F.3d

907, 911 (4th Cir. 1997) [“To satisfy the exhaustion requirement, a habeas Petitioner must fairly

present his claim[s] to the state’s highest court . . . the exhaustion requirement for claims not fairly

presented to the state’s highest court is technically met when exhaustion is unconditionally waived


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         While a copy of Petitioner’s pro se appellate brief has not been provided to the Court, based
on the cited case law, this issue could not have been considered on appeal even if it was raised in
Petitioner’s pro se brief.

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by the state...or when a state procedural rule would bar consideration if the claim[s] [were] later

presented to the state court.”], cert. denied, 522 U.S. 833 (1997); Ingram, 1998 WL 726757 at **1.

                However, even though technically exhausted, since this issue was not properly pursued

by the Petitioner in the state court, federal habeas review of this claim is now precluded absent a

showing of cause and prejudice, or actual innocence. Wainwright v. Sykes, 433 U.S. 72 (1977); Waye

v. Murray, 884 F.2d 765, 766 (4th Cir. 1989), cert. denied, 492 U.S. 936 (1989).

                In all cases in which a State prisoner has defaulted his Federal claims
                in State court pursuant to an independent and adequate State
                procedural rule, Federal Habeas review of the claim is barred unless
                the prisoner can demonstrate cause for the default and actual prejudice
                as a result of the alleged violation of Federal law, or demonstrate that
                failure to consider the claims will result in a fundamental miscarriage
                of justice.

Coleman, 501 U.S. at 750.

                Since Petitioner contends that he did pursue this claim in his APCR, he does not argue

any “cause” for a default of this claim. Petitioner does later complain about his PCR counsel in his

memorandum in opposition to summary judgment, but to the extent Petitioner may be attempting to

argue that his PCR counsel was ineffective for failing to properly pursue this claim in his PCR action,

this argument does not provide Petitioner relief. The United States Supreme Court has held that “if

the procedural default is the result of ineffective assistance of counsel, the Sixth Amendment itself

requires that responsibility for the default be imputed to the State . . . Ineffective assistance of counsel,

then, is cause for procedural default.” Murray, 477 U.S. at 488; see also Coleman v. Thompson,

supra; McCleskey v. Zant, 499 U.S. 467, 494 (1991); Noble v. Barnett, 24 F.3d 582, 586, n.4 (4th Cir.

1994)(“[C]onstitutionally ineffective assistance of counsel is cause per se in the procedural default

context”); Smith v. Dixon, 14 F.3d 956, 973 (4th Cir. 1994)(en banc). However, while ineffective


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assistance of counsel can constitute “cause” for a procedural default, it will only constitute “cause”

if it amounts to an independent violation. Ortiz v. Stewart, 149 F.3d 923, 932 (9th Cir. 1998); Bonin

v. Calderon, 77 F.3d 1155, 1159 (9th Cir. 1996). Here, Petitioner has failed to show the necessary

“cause” for his procedural default because, to the extent that Petitioner is claiming that his PCR

counsel did not pursue this claim, ineffective assistance of PCR counsel does not amount to an

independent constitutional violation and is not therefore “cause” for a procedural default. Murray v.

Giarratano, 492 U.S. 1-7, 13 (1989) [O’Connor, J., concurring] [ “[T]here is nothing in the

Constitution or the precedents of [the Supreme] Court that requires a State provide counsel in

postconviction proceedings. A postconviction proceeding is not part of the criminal process itself,

but is instead a civil action designed to overturn a presumptively valid criminal judgment. Nothing

in the Constitution requires the State to provide such proceedings,...nor does...the Constitution require

[ ] the States to follow any particular federal model in those proceedings.”]; Mackall v. Angelone, 131

F.3d 442, 447-449 (4th Cir. 1997); Ortiz, 149 F.3d at 932; Pollard v. Delo, 28 F.3d 887, 888 (8th Cir.

1994); Lamp v. State of Iowa, 122 F.3d 1100, 1104-1105 (8th Cir. 1997); Parkhurst v. Shillinger, 128

F.3d 1366, 1371 (10th Cir. 1997); Williams v. Chrans, 945 F.2d 926, 932 (7th Cir. 1992); Gilliam

v. Simms, No. 97-14, 1998 WL 17041 at *6 (4th Cir. Jan. 13, 1998).

               Accordingly, Petitioner has failed to show cause for his procedural default on this

issue. Rodriguez v. Young, 906 F.2d 1153, 1159 (7th Cir. 1990), cert. denied, 498 U.S. 1035 (1991)

[“Neither cause without prejudice nor prejudice without cause gets a defaulted claim into Federal

Court.”]. Nor does the undersigned find that Petitioner has met his burden of showing actual

innocence, or that a fundamental miscarriage of justice will occur if this issue is not considered. see,

Wainwright v. Sykes, supra; Murray v. Carrier, 477 U.S. 478 (1986); Rodriguez, 906 F.2d at 1159


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[a fundamental miscarriage of justice occurs only in extraordinary cases, “where a constitutional

violation has probably resulted in the conviction of one who is actually innocent”](citing Murray v.

Carrier, 477 U.S. at 496)); Sawyer v. Whitley, 505 U.S. 333, 348 (1992); Bolender v. Singletary, 898

F.Supp. 876, 881 (S.D.Fla. 1995)). To prevail under an “actual innocence” theory, Petitioner must

produce new evidence that was not available at trial to show his factual innocence. Royal v. Taylor,

188 F.3d 239, 244 (4th Cir. 1999). Further, Petitioner must “demonstrate actual factual innocence of

the offense or conviction; i.e., that petitioner did not commit the crime of which he was convicted.”

United States v. Mikalajunas, 186 F.3d 490, 494 (4th Cir. 1999). He has failed to do so.

               Therefore, this claim is procedurally barred from consideration by this Court, and must

be dismissed. See 28 U.S.C. § 2254.

               Ground Two. Petitioner also contends that his trial counsel was ineffective for failing

to file any additional motions with the Court to examine the alleged murder weapon. Upon review

of the record and materials in the file consistent with the applicable case law, I do not find that the

Petitioner was denied effective assistance of counsel with respect to this claim.

               Bloom testified that he had made routine discovery motions which would have

provided access to the gun, and that it was his experience that once the State tests physical evidence,

he is always given access to it. (Volume 7, pp. 3336-3337). Bloom also testified that “[t]he fact that

the alleged firearm in the case got melted by the City Police Department and disposed [of] during the

interim was something no one could foresee. We actually I think in my humble observation ended

up using that to our advantage as a factual issue with the jury to allege reasonable doubt.” (Volume

7, p. 3337). Bloom testified that they could not foresee this circumstance and were waiting until the

State completed their testing of the weapon. (Volume 7, p. 3365). Bloom also testified that he had


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been practicing for fifteen years and had never encountered a situation where evidence had been

accidentally destroyed, so he did not feel that he needed to file a motion to protect the evidence.

(Volume 7, p. 3409). Co-counsel Nettles testified that they used the destroyed gun to argue to the

Petitioner’s advantage about the sloppy police work and shoddy crime scene work, while Bloom

testified that they were allowed to fully explore the issue of the gun being melted down on cross-

examination and argue it to the jury. (Volume 7, pp. 3338, 3411). However, Johnson and others

testified that Petitioner was in possession of the firearm during the relevant time period. (Volume 7,

pp. 3338, 3346).

               As previously discussed, since Petitioner’s ineffective assistance of counsel claim was

adjudicated on the merits by the South Carolina state court, this Court’s review is limited by the

deferential standard of review set forth in §2254(d)(1), as interpreted by the Supreme Court in

Williams v. Taylor, supra. See Bell v. Jarvis, supra; see also Fisher, 215 F.3d at 446; Evans, 220 F.3d

at 312. The state court found no indication of ineffective assistance in this evidence, and there is no

basis in this record to overturn the findings of the State Court. Evans, 220 F.3d at 312. Petitioner has

not shown that his counsel was ineffective for failing to file additional motions to examine the gun

earlier.

               Further, Petitioner has also failed to show that the outcome of his trial would have been

different if his counsel had filed additional motions regarding the gun or had even examined the gun

prior to its destruction. On direct appeal, Petitioner asserted that the murder weapon and any

testimony regarding it should have been suppressed, or the indictments against him dismissed,

because the gun was destroyed before the defense team could examine it. However, the State

Supreme Court found no evidence of bad faith, that the police officers followed normal procedures


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in destroying the gun, that there was no indication on the gun connecting it to the barbershop murders

at the time of its destruction, and that while there was evidence of a lack of care, there was no

evidence of an intentional destruction of relevant evidence. (R.p. 3185). In addition, the Court found

that Petitioner had not demonstrated that the gun had exculpatory value that was apparent before it

was destroyed. The Court specifically found,

       Further, [Petitioner] has not demonstrated in the alternative that the gun had
       exculpatory value that was apparent before it was destroyed. [Petitioner’s] expert
       testified the actual gun rather than the photographs of it should have been presented
       to the witnesses for identification. None of the witnesses, however, including
       [Petitioner] at the time he gave his statement, expressed any doubt that the gun in the
       photographs was the gun given to [Petitioner]. Further, Agent Paavel definitely
       identified the murder weapon as the gun in the photographs. There is no evidence of
       any apparent exculpatory value especially given the fact that the gun was recovered
       months after the crime and fingerprints were not an issue.

       Finally, all of Agent Paavel’s reports and the documentation of his microscopic
       comparison of the bullets from the murder scene with the test bullets fired from the
       gun, in addition to the bullets themselves, were available to the defense. Accordingly,
       comparable evidence was available from a source other than the gun.

       The trial judge properly denied [Petitioner’s] motions on this ground.

(R. p. 3186).

The same direct appeal issue was also raised to the United States Supreme Court, on which certiorari

was denied. Based upon a review of the facts and the state court proceedings, Petitioner has failed

to show that the outcome of his trial would have been different if his counsel had made any additional

motions to examine the gun. Petitioner’s arguments to the contrary are mere speculation and

conjecture.

                Nor has Petitioner shown that the state court’s rejection of this claim was unreasonable.

Evans, 220 F.3d at 312 [Federal habeas relief will not be granted on a claim adjudicated on the merits

by the state court unless it resulted in a decision that was based on an unreasonable determination of

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the facts in light of the evidence presented in the state court proceeding]; Williams v. Taylor, supra.

Bell, 236 F.3d at 157-158; 28 U.S.C. § 2254(e)(1) [Determination of a factual issue by the state court

shall be presumed correct unless rebutted by clear and convincing evidence]. Petitioner’s claim that

his counsel was ineffective on this ground is without merit, and should be dismissed. Fisher, 215 F.3d

at 446-447 [Court reviewed petitioner’s ineffective assistance of counsel claims under the standards

set forth in 28 U.S.C. § 2254(d)].

                Ground Three. Petitioner contends in Ground Three of his Petition that his trial

counsel was ineffective for advising him not to testify during the guilt phase of his trial and not

presenting the jury with an alternative interpretation of the State’s evidence that would give the jury

reason to doubt the State’s case. However, while Petitioner testified at his PCR hearing that his trial

counsel wrongly advised him to decline to testify at trial, he has not shown how counsel was

ineffective for giving him this advice. Bloom testified that he met with Petitioner over fifteen times

(which did not include times when other counsel met with Petitioner without Bloom), and that he

thoroughly discussed with Petitioner the implications of him testifying. (Volume 7, p. 3343). Bloom

also testified that he and other counsel advised Petitioner not to testify during the guilt phase, but that

it was his decision whether to testify or not testify. (Volume 7, p. 3344). Bloom opined that

Petitioner is very strong willed, had a very clear view of how he wanted his case to proceed and did

so at trial, and that Petitioner was not coerced not to testify, nor was his will overborne. (Volume 7,

p. 3344). Bloom testified that Petitioner is intelligent, was able to read the discovery, digest and

understand materials, discuss matters with counsel and make sure that his point came across to

counsel, and cogently and clearly expressed how he wanted certain aspects of his case to proceed.

(Volume 7, p. 3345). Bloom testified that “I have no doubt that if he had clearly wanted to testify,


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despite our advice, he could have and would have done so.” (Volume 7, p. 3367). Bloom also

testified that they felt Petitioner would have been subjected to a very vigorous cross-examination,

including his prior criminal history. (Volume 7, p. 3386). Nettles opined that if Petitioner had

testified that there was a good chance that he would have received the death penalty, and that advising

Petitioner not to take the stand was probably the best advice they gave Petitioner throughout the entire

trial. (Volume 7, p. 3413). However, Nettles also testified that whether or not to testify was

ultimately Petitioner’s decision. (Volume 7, p. 3414).

               With respect to Petitioner’s claim that an alternative interpretation of the State’s

evidence should have been presented, Bloom testified that there was a lot of discovery in Petitioner’s

case, taking up six to twelve banker’s boxes. (Volume 7, p. 3333). Bloom testified that they had full

access to all the physical evidence, such as the shoe impressions, as well as to any document or

witness statement. (Volume 7, p. 3347). Bloom testified that they also shared all the discovery with

the Petitioner, and that there was significant evidence against the Petitioner including an eyewitness

identification, testimony that Petitioner had the gun during the relevant time period, and handwritten

letters by the Petitioner written in code, but referencing both the barber shop murders and the cab

driver murder. (Volume 7, pp. 3337-3340). Petitioner’s argument that counsel could have done a

better job with this evidence is pure speculation and conjecture.

               Again, there is no basis in this record to overturn the findings of the State Court. Evans,

220 F.3d at 312. While the decisions of trial counsel are always subject to being second guessed with

the benefit of hindsight, tactical and strategic choices made by counsel after due consideration do not

constitute ineffective assistance of counsel. Strickland, 466 U.S. at 689; Bunch v. Thompson, supra;

Horne v. Peyton, 356 F.2d 631, 633 (4th Cir. 1966); Burger v. Kemp, 483 U.S. 766 (19878); see also


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Harris, 874 F.2d at 762. Petitioner has not shown that his counsel was ineffective for advising him

of possible vulnerable areas where he could be cross examined if he chose to testify, or that he was

prejudiced by his failure to testify. Nor has Petitioner shown that the state court’s rejection of this

claim was unreasonable. Evans, 220 F.3d at 312 [Federal habeas relief will not be granted on a claim

adjudicated on the merits by the state court unless it resulted in a decision that was based on an

unreasonable determination of the facts in light of the evidence presented in the state court

proceeding]; Williams v. Taylor, supra. Bell, 236 F.3d at 157-158; 28 U.S.C. § 2254(e)(1)

[Determination of a factual issue by the state court shall be presumed correct unless rebutted by clear

and convincing evidence].

               Petitioner’s claim that his counsel was ineffective on this ground is without merit, and

should be dismissed. Fisher, 215 F.3d at 446-447 [Court reviewed petitioner’s ineffective assistance

of counsel claims under the standards set forth in 28 U.S.C. § 2254(d)].

               Ground Four. Petitioner’s final ineffective assistance claim is that his trial counsel

was ineffective for not investigating the “cab driver” murder “with the intent” to put up a meaningful

adversarial challenge and alternative interpretation against the State’s evidence and theory. However,

as already noted, Bloom testified that the defense had full access to all of the physical evidence,

documents, and witnesses, and that with regard to the cab driver murder, “[t]he Solicitor gave us every

scrap of evidence they had on both the barber shop and cab driver case that they had to my

knowledge. If the Solicitor’s Office has suppressed some type of Brady material, I’m not aware of

it, because they gave us full access.” (Volume 7, p. 3348). Bloom also testified that Petitioner had

a “fairly skilled and expansive defense team. . . two investigators on the case, one focusing on the

guilt phase issues, one focusing on sentencing phase issues. . . . an expert in the field of crime scene


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and shoe impressions. . . . a psychologist . . . expert witnesses who testified during the sentencing

phase.” (Volume 7, p. 3348). Bloom testified that “[w]e had a very skilled and experienced private

investigator who worked countless [] of hours on both these cases. We also had a mitigation

investigator at sentencing. But on the cab driver murders, not only did we have an investigator, we

had a crime scene expert with Mr. Girndt advising us as to both cases.” (Volume 7, p. 3368). At the

PCR hearing, Petitioner questioned Bloom about the fact that in one of the “letters” he had written

he referenced the cab driver struggling, even though there was some evidence there had been no

struggle, which would seem to discredit the letter. (Volume 7, pp. 3379-3380). Bloom testified that

he did not think that they could prove from the evidence or the crime scene that the cab driver did not

resist, and opined that he did not feel like that was the most incriminating part of the cab letter or that

they could use it to exonerate Petitioner. (Volume 7, pp. 3380-3383). Nettles also testified that they

investigated the cab driver murder, and opined that Petitioner’s letter referencing the cab driver

murder was the worst piece of evidence, because there were not any other cab murders during this

time period. (Volume 7, pp. 3414-3415).

                There is no evidence of ineffective assistance in this testimony, and Petitioner failed

to present any evidence, records, or witnesses in his PCR proceedings to support his conclusory

allegations with respect to this issue. See Kerr v. Kingston, No. 04-1153, 2008 WL 2954278 at * 13

(E.D.Wis. 2008)[Evidence is merely speculative where Petitioner fails to proffer the alleged

evidence]; Gonzales v. Quarterman, No. 06-164, 2007 WL 999019 at * 7 (W.D.Tex. Mar. 29,

2007)[Claim is speculative and conclusory where no evidence is proffered to support claim]; Beaver

v. Thompson, 93 F.3d 1186, 1195 (4th Cir. 1996)[rejecting claim that counsel was ineffective for

failure to present mitigation evidence family members, where there was no proffer of this testimony];


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Bassette v. Thompson, 915 F.2d 932, 940-941 (4th Cir. 1990)[Petitioner’s allegations that attorney did

ineffective investigation does not support relief absent proffer of the supposed witness’ favorable

testimony]. Further, with regard to Petitioner’s allegations that he could have explained some of the

items contained in his letter and how they didn’t accurately describe the cab driver murder, the

Petitioner did not testify at trial, and the undersigned has already addressed and found that counsel’s

advice to Petitioner not to testify did not constitute ineffective assistance of counsel. See discussion,

supra.

                Petitioner has also failed to show that, even if his counsel had obtained additional

information or discovery concerning the cab driver’s murder, the outcome of his trial would have been

different. He has therefore failed to present evidence sufficient to show that the state court’s rejection

of this claim was unreasonable. Evans, 220 F.3d at 312 [Federal habeas relief will not be granted on

a claim adjudicated on the merits by the state court unless it resulted in a decision that was based on

an unreasonable determination of the facts in light of the evidence presented in the state court

proceeding]; Williams v. Taylor, supra. Bell, 236 F.3d at 157-158; 28 U.S.C. § 2254(e)(1)

[Determination of a factual issue by the state court shall be presumed correct unless rebutted by clear

and convincing evidence]. This claim should be dismissed.

                                                   II.

                Respondent also addresses the issue raised by Petitioner in Ground Five of his Petition;

that the Solicitor committed misconduct by telling the court that no deals were made for witnesses’

testimony, and by telling the state’s witnesses to say the same thing on the stand. However, Petitioner

did not address this claim in his memorandum in opposition to summary judgment, where he clearly

set forth the four grounds that he was pursuing. See Motion in Opposition to Summary Judgment, pp.


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1-2.

               Since Petitioner has not contested this issue, the undersigned finds it to have been

abandoned. In any event, it is without merit, as Petitioner has failed to present any evidence to

support this claim.

                                            Conclusion

               Based on the foregoing, it is recommended that the Respondent’s motion for summary

judgment be granted, and that the Petition be dismissed.

               The parties are referred to the Notice Page attached hereto.




                                             ________________________________
                                             Bristow Marchant
                                             United States Magistrate Judge
February 17, 2009

Charleston, SC




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          Notice of Right to File Objections to Report and Recommendation

        The parties are advised that they may file specific written objections to this Report and
Recommendation with the District Court Judge. Objections must specifically identify the
portions of the Report and Recommendation to which objections are made and the basis for
such objections. In the absence of a timely filed objection, a district court need not conduct
a de novo review, but instead must “only satisfy itself that there is no clear error on the face
of the record in order to accept the recommendation.” Diamond v. Colonial Life & Acc. Ins.
Co., 416 F.3d 310 (4th Cir. 2005).

       Specific written objections must be filed within ten (10) days of the date of service of
this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). The time
calculation of this ten-day period excludes weekends and holidays and provides for an
additional three (3) days for filing by mail. Fed. R. Civ. P. 6(a) & (e). Filing by mail pursuant
to Fed. R. Civ. P. 5 may be accomplished by mailing objections to:

                                   Larry W. Propes, Clerk
                                United States District Court
                                       P.O. Box 835
                              Charleston, South Carolina 29402

       Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment of the
District Court based upon such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v.
Arn, 474 U.S. 140 (1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984); Wright v.
Collins, 766 F.2d 841 (4th Cir. 1985).




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